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Counsel for County Defendants

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

RAYMOND STALIE, and EVA                   )   Case No. CV 17-74-M-DLC
STALIE, individually and as co-personal   )
representatives of the ESTATE OF          )   OFFER OF JUDGMENT
ROBERT STALIE, CLAUDETTE                  )
STALIE, individually and as guardian of   )
ROCHELLE STALIE, FEE KOPPER,              )
individually, and MARGARET                )
MARKIS, individually,                     )
                                          )
                 Plaintiffs,              )
                                          )
         v.                               )
                                          )
THE CITY OF LIBBY, a municipal            )
entity, CHIEF OF POLICE JAMES             )
SMITH, an individual, LINCOLN             )
COUNTY, a municipal entity,               )
CHARLENE WILLIAMSON, an                   )
individual, DETENTION OFFICER             )
JAMES DERRYBERRY, an individual,          )
DETENTION OFFICER CHANEL                  )
GEER, and DOES 1-1 inclusive,             )
                                          )
                     Defendants.          )

 Offer of Judgment                                                      Page 1
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      Defendants Lincoln County, Charlene Williamson, James Derryberry, and

Chanel Geer (the “County Defendants”), through their counsel, and pursuant to

Rule 68(a) of the Federal Rule of Civil Procedure, together make the following

Offer of Judgment. The County Defendants hereby offer to allow judgment to be

taken against them in this action in the amount of One Hundred Thousand and

No/100 Dollars ($100,000.00), with costs then accrued. If this Offer of Judgment is

not accepted within the time prescribed by Rule 68(a), it is deemed withdrawn

pursuant to Rule 68(b). This Offer of Judgment is made for the purpose specified

in Rule 68 and is not to be construed either as an admission that the County

Defendants are liable in this action or that Plaintiffs have suffered any damage.

      DATED this 12th day of January 2018.

                                              MACo Defense Services

                                              /s/ Gregory L. Bonilla
                                              Gregory L. Bonilla




 Offer of Judgment                                                             Page 2
